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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 - - -------------------------------------------------- X
 lNTERTEK TESTING SERVICES, N .A., INC.,
                                                                                   Civil Case No.: 2: I 9-cv-07103
                                                      Plaintiff.                   (SJF) (AL)
                      -against-
                                                                                   CONSENT ORDER
 FRANK PENN1Sl, WENDY ASKLUND                                                                            FILED
 NICHOLAS PENN1Sl, and BIG APPLE TESTTNG,                                                                CLERK
 INC.,                                                                                         5/28/2020 4:56 pm
                                                                                                 U.S. DISTRICT COURT
                                                       Defendants.                          EASTERN DISTRICT OF NEW YORK
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                                                                                                 LONG ISLAND OFFICE

                      TIIlS MATTER having been commenced by Plaintiff, Intertek Testing Services,

 N .A., Inc. ("lntertek") by filing a complaint on December 19, 20 I 9, against Defendants Frank

 Pennisi      ("F. Pennisi"), Wendy                    AskJund ("Asklund"), Nicholas Pennisi           ("N.Pennisi")

 (collectively the "Individual Defendants"), and Big Apple Testing, Inc. ("Big Apple")

 (collectively "Defendants"), alleging that Defendants misappropriated documents that contained

 Intertek' s confidential, proprietary, or trade secret information (the " Intertek Confidential

 Information") in violation of the Defend Trade Secrets Act of 2016, Pub. L . 114-153 , 130 Stat.

 376, codified at 18 U.S.C. § 1836 et seq., that Big Apple tortiously interfered with lntertek'

 contractual relationship with the Individual Defendants, and that F. Pennisi violated c rtain non-

 competition and non-solicitation obligations pursuant to a Purchase and Sale Agreement nnd hi

 Employment Agreement;

                      WHEREAS, lntertek and Big Apple are each in the busine                          of p rforming

 special construction inspections, material testing and monitoring on behalf of engineering and

 reaJ estate development firms in the New York City metro area ;




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                    \ HERE     , th lndi idual Defendant are former employees of Jntertek, wi th

   sklund and       . Penni i currentJ being emplo ed b Big Apple;

                    WHEREA , thi      C un entered an Order Granting lntertek 's Motion for

 Preliminary Injunction (the "Order' ) on December 19, 2019 (Dkt. No. 8);

                    WHERE S, on May 27, 2020 the Individual Defendants served on Jntertek

 Declarations, made under penalt_ of perjury. in which they stated (a) they had not used or

 disseminated any of lntenek ' s "confidential, proprietary, or trade secret information'' since

 resigning from lntertek. including such lntertek Confidential Information as may be described in

 the Complaint; (b) that, after a thorough search of their personal files. including paper files,

 mobile phones, personal email accounts, laptops, personal computers, Google Drive account,

 and/or iCloud servers, they identified certain documents (submitted as exhibits to their respective

 Declarations) left in their possession from their years of employment with lntertek which may

 contain confidential or proprietary information ; and (d) that they will delete or destroy those

 documents at lntertek' s and the Court' s direction ;

                    WHEREAS, on May 27, 2020, Joe Lowy, Big Apple' s President, served on

 Jntertek an Affidavit, declaring under penalty of perjury and contempt of court that neither the

 Individual Defendants nor their agents had provided anyone at Big Apple with any "confidential

 or proprietary information or intellectual property of lntertek," or used such information in their

 roles at Big Apple·

                    WHEREAS, Defendants, through their counsel , confirmed that th      d not h v

 any documents containing lntertek Confidential Information in their po

 ubject to their control , beyond those attached to their Declaration ;




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                  WHEREAS, the Individual Defendants represent that at all times they have not

 misappropriated any lntertek Confidential Information and wish to resolve this action by

 complying with their post-termination obligations concerning the use of Intertek Confidential

 Information;

                  WHEREBY, IT IS HEREBY STlPULA TED [AND ORDERED) TBA T:

                  A.     Defendants consent to the jurisdiction of this Court to enter and enforce

 the Order against them.

                  B.     The parties consent to the entry of this Consent Order.

                  C.     The Lndividual Defendants will comply with their post-termination

 obligations relating to lntertek Confidential Information, including but not limited to such

 Intertek Confidential Information identified in the underlying Complaint (0kt. No. I).

                  D.     The lndividual Defendants, and any person within the scope of Federal

 Rule of Civil Procedure 65(d)(2), are permanently and forever enjoined, barred, and prohibited

 from disclosing any Intertek Confidential Information to anyone outside of Intertek.

                  E.    F. Pennisi is barred, and prohibited from performing services, in an

 capacity, that are in any way related to the commercial inspection and testing of the material

 and construction of public works, infrastructure, residential and commercial buildings in th

 York City metropolitan area, which includes the State of New Jersey , until Octob r 24, .. 020.

                  P.    Big Apple, and any of its affiliated companie • whi h in lucle but is l\()t

 limited to Big Apple Group NY, LLC, are enjoined, barr d, and pr hibit cl from r t inin • F

 Pennisi to perform services, in any capacity, until Octob r 24, 2020.

                  G.    P. Pennisi is enjoined, barred, and prohibit cl from , ith r dir ti         r

 indirectly, inducing, enticing, encournging or procuring or othen i      oliciting an    mpl o    of




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 Intertek to leave such employment to become employed by F. Pennisi ' s current employer or a

 competitor of Intertek, including Big Apple and any of its affiliated companies, until October 24,

 2020.

                H.         If Defendants later discover any lntertek Confidential Information in their

 possession, custody, or control, they shall use their best efforts, within three days of such

 discovery, to provide lntertek with (a) copies of all such Intertek Confidential Information; (b) a

 summary of when and how such Intertek Confidential Information came into their possession,

 custody, or control ; (c) the identity of aJI persons to whom copies of such Intertek Confidential

 Information or summaries derived therefrom were provided; and (d) the date or dates on which

 lntertek provided copies of such lntertek Confidential information to the persons identified

 pursuant to the foregoing section of this paragraph. Upon lntertek's direction, Defendants shall

 immediately provide all other copies of the Intertek Confidential Information in their possession

 to Intertek or destroy such copies in the manner specified by lntertek.

                I.         For the purposes of the foregoing paragraph (H) :

                      1.      Defendants are directed to provide all notices to lntertek to the
                              attention of counsel for lntertek as follows :

                              Elior D. Shiloh (Elior.Shiloh@lewisbrisbois.com)
                              Andrew Williamson (Andrew.Williamson@lewisbrisbois.com)
                              Lewis Brisbois Bisgaard & Smith LLP
                              77 Water Street, Suite 2100
                              New York, NY 10005

                     11.      lntertek is directed to provide all notice to De~ ndnnt t th attention
                              of counsel for Defendants as follow :

                              Evan M . Newman (cnewmnn@jntllp.com)
                              Nathan Cohen (ncohen@) jntllp.com)
                              Jacobowitz Newman Tversky LLP
                              377 Pearsall Avc,\ue, ulte
                              Cedarhur t, NY 11581




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                    J.   Thir Coflct sba)J retain j11cisdictioi:1 to eofucce the teans af this Caosent

 Oeder and resolve any disputes arising fraro ac relating ta this Consent Order Except for the

 entry of this Consent Order, all other claims for relief as alleged in the Complaint are hereby

 dismissed with prejudice, with the parties to bear their own costs and attorneys' fees.

    Respectfully submitted,
         ~<L-- -                                              /S/ Andrew T. Williamson

    Evan Newman                                        Elior Shiloh
    Nathan Cohen                                       Andrew Williamson
     JACOBOWITZ NEWMAN                                 LEWIS BRJSBOIS BISGAARD &
    TVERSKYLLP                                         SMlTH LLP
    377 Pearsall Avenue                                77 Water Street
    Suite C                                            Suite 2100
    Cedarhurst, New York 11516                         New York, New York 10005
    Telephone: (212) 6 12-111 0                        Telephone: (212) 232-1362
    enewman@jntllp.com                                 elior.shiloh@lewisbrisbois.com
    ocohen@jntllp.com                                  andrew.wi Iliamson@lewi sbrisbois.com
    Attorneys/or Defendants                             Attorneys/or Plaintiff



  SO ORDERED.

  Dated:            New York, New York
                    May -28.., 2020

                                                             SAND7:FEUERSTElN
                                                             United States District Judge




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